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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

 BANCREDITO HOLING
 CORPORATION, et al.,

 Plaintiffs,

 v.                                                 CIVIL NO. 23-1238 (CVR)

 DMRA LAW, LLC., et al.,

 Defendants.



                                     JUDGMENT

       Pursuant to the “Notice of Voluntary Dismissal as a Matter of Right” (Docket No.

45) and the Court’s Order of this same date (Docket No. 47), the Court hereby ENTERS

JUDGMENT, and DISMISSES WITHOUT PREJUDICE this case.

       IT IS SO ORDERED AND ADJUDGED.

       In San Juan, Puerto Rico, on this 23rd day of October 2023.

                                        S/CAMILLE L. VELEZ-RIVE
                                        CAMILLE L. VELEZ RIVE
                                        UNITED STATES DISTRICT JUDGE
